Case 0:15-cv-61081-BB Document 83 Entered on FLSD Docket 09/13/2016 Page 1 of 3



                          UNITED STATES DISTRICT COURT
                          SOUTHERN DISTRICT OF FLORIDA
                             FT. LAUDERDALE DIVISION

 STEPHEN REGAL and GIANNA HILLIS,                       Case No.: 0:15‐cv‐61081‐BB
 individually and on behalf of all other
 similarly situated individuals,

        Plaintiffs,
 v.

 BUTLER & HOSCH, P.A. and
 ROBERT H. HOSCH, JR.,

        Defendants.
                                          /
 MATTHEW WILLIAMS,

        Plaintiff,
 v.

 BUTLER & HOSCH, P.A.,

        Defendant.
                                          /

            DEFENDANT’S RESPONSE TO ORDER SETTING HEARING
      AND ACKNOWLEDGEMENT OF NO OPPOSITION TO SUMMARY JUDGMENT
                               [D.E. 82]

        Defendant, Butler & Hosch, P.A. (“B&H”), by and through its undersigned

 counsel, pursuant to this Court’s Order Setting Hearing [D.E. 82], acknowledges that the

 Defendant, Butler & Hosch, does not oppose the entry of Summary Judgment.

        Undersigned counsel further sincerely apologies for the failure to respond to prior

 Orders of this Court requesting an acknowledgement that B&H did not oppose entry of

 Summary Judgment.          The failure was a result of an unfortunate internal

 miscommunication amongst counsel representing B&H, and not as a result of any
Case 0:15-cv-61081-BB Document 83 Entered on FLSD Docket 09/13/2016 Page 2 of 3



 purposeful act, which resulted in undersigned counsel and her partners in this case

 being unaware of the entry of the orders.

        At the time counsel for B&H made an appearance, lead counsel not of record,

 Mr. Roy S. Kobert, was not a registered CM/ECF user in the Southern District.

 Accordingly, the CM/ECF filing privileges of undersigned counsel, who is co-counsel

 along with Mr. Kobert in this matter, were utilized.1 From the inception of this case, Mr.

 Kobert and undersigned counsel diligently pursued settlement.            During settlement

 negotiations, undersigned counsel went on maternity leave, and Mr. Kobert led all

 further discussions with opposing counsel. The settlement was complex and provided,

 in part, for B&H to agree to class certification and not oppose summary judgment.

 When undersigned counsel returned from maternity leave, she was under the mistaken

 impression that Mr. Kobert was receiving the CM/ECF notifications in this case given

 her three month absence. Undersigned counsel further believed that Mr. Kobert was

 responding to any papers filed with the Court consistent with the terms of the settlement

 agreement. Only several hours ago undersigned counsel learned of the entry of the

 Order Setting Hearing when opposing counsel e-mailed undersigned counsel and Mr.

 Kobert to advise them of the entry of the Order.           Immediately upon notification,

 undersigned counsel investigated the issue. Admittedly, the internal miscommunication

 was an error on the part of undersigned counsel and Mr. Kobert. Undersigned counsel

 and Mr. Kobert greatly respect this Court’s authority and truly regret and apologize for

 this situation.



 1
   When undersigned counsel was not available Mr. Fernando Menendez would assist in
 reviewing and filing papers. His role in the case was extremely limited. Mr. Menendez was
 under the impression that the matter was settled and our involvement was no longer necessary.
Case 0:15-cv-61081-BB Document 83 Entered on FLSD Docket 09/13/2016 Page 3 of 3



          WHEREFORE, undersigned counsel respectfully requests that this Court accept

 this late-filed Acknowledgment, and further respectfully requests cancellation of the

 hearing scheduled for Monday, September 19, 2016, and any further relief deemed

 necessary or appropriate.

                                          /s/ Maureen A. Pateman
                                          ROY SCOTT KOBERT
                                          Florida Bar No. 777153
                                          MAUREEN A. PATEMAN
                                          Florida Bar No. 0605530
                                          FERNANDO MENENDEZ, JR.
                                          Florida Bar No. 0018167
                                          GrayRobinson, P.A.
                                          301 E. Pine Street, Suite 1400
                                          Orlando, Florida 32802-3068
                                          (407) 843-8880 Telephone
                                          Attorneys for Butler & Hosch, P.A.




                               CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that a true copy of the foregoing was furnished via CM/ECF to
 Gary M. Farmer, Jr., Esq., gary@pathtojustice.com, Marks S. Fistos, Esq.,
 mark@pathtojustice.com, Steven R. Jaffe, Esq., steve@pathtojustice.com, Seth M. Lehrman,
 Esq., seth@pathtojustice.com, Farmer, Jaffe, Weissing, Edwards, Fistos & Lehrman, PL, 425 N
 Andrews Avenue, Suite 2, Fort Lauderdale, FL 33301, Attorneys for Defendants Stephen Regal
 and Gianna Hillis; and Andrew W. Ferich, Esq. awf@chimicles.com, Benjamin F. Johns, Esq.,
 bfj@chimicles.com, Chimicles & Tikellis, LLP, 361 W. Lancaster Avenue, Haverford, PA 19041
 Attorneys for Matthew Williams on this 13th day of September, 2016.

                                          /s/ Maureen A. Pateman_____
                                          Maureen A. Pateman, Esq.




 # 10227460 v1
